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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN


SPEECH FIRST, INC.,
                                Plaintiff,


v.                                               Civil Action 2:18-cv-11451-LVP-EAS


MARK SCHLISSEL, et al. ,

                             Defendants.




       PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

      Pursuant to Federal Rule of Civil Procedure 65, Plaintiff Speech First, Inc.

(“Speech First”) hereby moves the Court to issue a preliminary injunction enjoining

Defendants Mark Schlissel, et al., from: (1) taking any actions to investigate, threaten,

or punish students for violations of the prohibitions on “harassment,” “bullying,” and

“bias-related misconduct” set forth in the University’s Statement of Student Rights and

Responsibilities; and (2) using the Bias Response Team to investigate, threaten, or

punish students (including informal punishments such as “restorative justice” or

“individual education”) for “bias incidents.”

      Speech First respectfully asks that the Court expedite resolution of this motion

to the extent necessary to ensure that a decision by this Court and by the Sixth Circuit,



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should either party decide to appeal this Court’s ruling, is reached before the new school

year begins on September 4, 2018.

      Pursuant to Local Rule 7.1(a), Speech First conferred with Defendants’ counsel.

Defendants do not concur in the relief sought and oppose Speech First’s request for a

preliminary injunction.

                                                Respectfully submitted,

                                                By:/s/ John A. Di Giacomo

 Dated: May 11, 2018                            John A. Di Giacomo (P73056)
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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 11, 2018, I electronically filed the foregoing with the

Clerk of the Court using the ECF system. Pursuant to agreement with Defendants’

counsel, an electronic copy of the foregoing was emailed to Defendants’ counsel on

May 11, 2018.




                                                By: /s/ John A. Di Giacomo

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             IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF MICHIGAN


SPEECH FIRST, INC.,
                             Plaintiff,


v.                                           Civil Action 2:18-cv-11451-LVP-EAS


MARK SCHLISSEL, et al. ,

                           Defendants.




            PLAINTIFF’S MEMORANDUM IN SUPPORT OF
             MOTION FOR PRELIMINARY INJUNCTION




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              CONSISE STATEMENT OF ISSUES PRESENTED


Issue 1:      Is Plaintiff entitled to a preliminary injunction?

       Plaintiff Speech First argues that it is entitled to a preliminary injunction under
Fed. R. Civ. Pro. 65(a) because the defendant officials at the University of Michigan
have adopted several policies that unconstitutionally ban protected speech and
expression and have a chilling effect on open discourse at the University. Plaintiff argues
that these policies violate the First and Fourteenth Amendments, that Plaintiff will
suffer irreparable harm in the absence of a preliminary injunction, and that the balance
of equities and public interest tip in favor of an injunction.

           CONTROLLING AUTHORITY FOR RELIEF SOUGHT
Fed. R. Civ. Pro. 65(a)

Winter v. Nat. Resources Def. Council, 555 U.S. 7 (2008)

United States v. Playboy Entertainment Group, 529 U.S. 803 (2000)

R.A.V. v. City of St. Paul, Minn., 505 U.S. 377 (1992)

Texas v. Johnson, 491 U.S. 397 (1989)

Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503 (1969)

Dambrot v. Central Mich. Univ., 55 F.3d 1177 (6th Cir. 1995)

G & V Lounge, Inc. v. Mich. Liquor Control Comm’n, 23 F.3d 1071 (6th Cir. 1994)

Leonardson v. City of East Lansing, 896 F.2d 190 (6th Cir. 1990)

Doe v. University of Michigan, 721 F. Supp. 852 (E.D. Mich. 1989)

                    STATEMENT PURSUANT TO L.R. 7.1(a)
      Counsel for Plaintiff notified counsel for Defendants of Plaintiff’s intent to file
this motion. Defendants do not consent to the relief sought herein.




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            INTRODUCTION AND SUMMARY OF ARGUMENT
      “The mere dissemination of ideas—no matter how offensive to good taste—on

a state university campus may not be shut off in the name alone of ‘conventions of

decency.’” Papish v. Bd. of Curators of Univ. of Mo., 410 U.S. 667, 670 (1973). After all,

“[t]he college campus is peculiarly suited to serve as a marketplace of ideas and a forum

for the robust exchange of different viewpoints.” Solid Rock Found. v. Ohio State Univ.,

478 F. Supp. 96, 102 (S.D. Ohio 1979). Yet the University of Michigan (“the

University”) and its officials have created an elaborate investigatory and disciplinary

apparatus to suppress and punish speech other students deem “demeaning,”

“bothersome,” or “hurtful.” This Court found the University’s previous iteration of a

speech code to violate the First and Fourteenth Amendments. See Doe v. University of

Michigan, 721 F. Supp. 852 (E.D. Mich. 1989). The University’s latest attempts at

censorship should fare no better.

      Plaintiff Speech First, Inc. (“Speech First”) is a nationwide membership

organization of students, alumni, and others—including current students who attend

the University—that is dedicated to preserving civil rights secured by law, including the

freedom of speech guaranteed by the First Amendment to the U.S. Constitution.

Speech First respectfully requests, before the start of the 2018-19 school year, a

preliminary injunction enjoining two separate but related University policies that have

a profound chilling effect on protected speech and expression.




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       First, the University’s disciplinary code prohibits “harassment” and “bullying,”

and further increases the potential penalties if such actions were motivated by “bias.”

All of those concepts, as the University interprets and applies them, can capture

staggering amounts of protected speech and expression. For example, the University

defines “harassment” as “unwanted negative attention perceived as intimidating,

demeaning, or bothersome to an individual.” Ex. B. at 6.1 A student can thus be subject

to significant penalties (up to and including expulsion) if another student perceives his or

her speech as “demeaning” or “bothersome.” Under this regime, the most sensitive

student on campus effectively dictates the terms under which others may speak. The

University’s expansive and amorphous prohibitions on “harassment,” “bullying,” and

“bias-related misconduct” are having—and will continue to have—a profound chilling

effect on protected activity, and are void for vagueness due to the utter lack of clear

notice about the line between permissible and prohibited speech and expression.

       Second, the University has created a “Bias Response Team” (BRT) that receives

complaints of “bias” and “bias incidents” from offended students and is tasked with

investigating and punishing those who commit such offenses. According to the

University, “[b]ias comes in many forms,” can be intentional or unintentional, and “can

be a hurtful action based on who someone is as a person.” Ex. F. at 3. In determining

whether a bias incident has occurred, “[t]he most important indication of bias is your own



       1
           All exhibits cited in this brief are exhibits to the Declaration of Jeffrey M. Harris.


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feelings.” Id. (emphasis added). As a result, a student whose speech is seen by another

student as “hurtful” to his or her “feelings” may receive a knock on the door from a

team of University officials (some of whom may be law enforcement officers)

threatening to refer the student to formal disciplinary authorities unless he or she

submits to “restorative justice” or “individual education.” See Ex. I at 1; Ex. L. at 7. The

BRT and its highly subjective definitions of “bias” and “bias incident” pose a grave

threat to free expression at the University, and are unconstitutional under the doctrines

of overbreadth, vagueness, and prior restraints.

       Speech First is likely to prevail on the merits of its claims under the First and

Fourteenth Amendments and readily meets the remaining preliminary-injunction

criteria. Deprivation of a core constitutional right, even for a brief period of time,

constitutes irreparable injury, and a preliminary injunction would not foreclose the

University from adopting policies that advance its legitimate interests without chilling

or burdening protected speech. There is no question, moreover, that the public has a

strong interest in ensuring the protection of speech and expression at state-funded

universities. Speech First thus respectfully requests that this Court grant a preliminary

injunction and reaffirm that the First Amendment applies with full force even to speech

the University deems “demeaning,” “bothersome,” or “hurtful.”




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                                  BACKGROUND
I.    The University’s Expansive and Ill-Defined Bans on “Harassment,”
      “Bullying,” and “Bias-Motivated Misconduct.”
      Because the University is a public institution, its policies must comply with the

First and Fourteenth Amendments to the Constitution. Yet the University and its

officials have a long record of seeking to limit some students’ speech and expression in

order to prevent other students from taking offense. This Court previously enjoined

University officials from implementing an earlier iteration of a speech code. See Doe,

721 F. Supp. at 864-67 (holding that speech code prohibiting “verbal conduct” that

“victimizes” or “stigmatizes” certain groups was unconstitutionally overbroad in

violation of the First Amendment and void for vagueness under the Fourteenth

Amendment). Despite that holding, the University and its officials have continued to

maintain policies and take actions that have the purpose and effect of limiting speech

that certain students might find offensive.

      The University’s Statement of Student Rights and Responsibilities (“Statement”)

“describes possible behaviors which are inconsistent with the values of the University

community.” Ex. A at 1. The Statement “outlines procedures to respond to such

behaviors,” and “suggests possible sanctions/ interventions which are intended to

educate and to safeguard members of the University Community.” Id. at 5. In short, the

Statement prohibits certain actions and sets forth procedures and remedies for alleged

violations. The University claims authority to punish misconduct that “occurs in the



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city of Ann Arbor, on University controlled property, or at University sponsored

events/programs.” Id. at 4. Unsurprisingly, the Statement provides that students may

be disciplined for conduct such as physically harming another person, illegally

possessing drugs or alcohol, falsifying records, theft, and vandalism. Id. at 3-4.

       The Statement also prohibits “[h]arassing or bullying another person—

physically, verbally, or through other means.” Id. at 3. Although the Statement does not

define “harassment,” it does cite a definition of that term from the University’s “Expect

Respect” initiative, which is a program designed to create a “[c]ampus social climate”

that is “safe and inclusive.” Ex. C. That program defines “harassment” as “unwanted

negative attention perceived as intimidating, demeaning, or bothersome to an individual.”

Ex. B. at 6 (emphasis added). The Statement also cross-references Merriam-Webster’s

Dictionary, which defines “harassing” as “(1) to annoy persistently; (2) to create an

unpleasant or hostile situation, especially by uninvited or unwelcome verbal or physical

conduct.” Id. In other words, a student may violate the University’s prohibition on so-

called “harassment” if he or she engages in “verbal[]” conduct (i.e., speech) that another

student perceives as being “demeaning,” “bothersome,” or “annoying.”

       As for “bullying,” the only definition the University provides is a link to Merriam-

Webster’s Dictionary, which defines that term as: “(1) to frighten, hurt, or threaten (a

smaller weaker person), (2) to act like a bully toward (someone), (3) to cause (someone)

to do something by making threats or insults or by using force, (4) to treat abusively,

(5) to affect by means of force or coercion.” Id. A student could thus be reported,

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investigated, and punished for “bullying” if she “verbally” or through “other means”

engages in conduct that another student finds “frightening,” “abusive,” or “hurtful.”

      Any student, faculty member, or staff member may submit a complaint to the

Office of Student Conflict Resolution (“OSCR”) alleging a violation of the Statement.

The OSCR will then investigate and decide whether to bring charges against the student.

A student who violates the Statement can suffer a wide range of punishments. The

OSCR can, among other things, formally reprimand the student; put the student on

probation; order the student to attend a class or perform “community tasks” that will

teach the student “why certain behavior is inappropriate”; suspend the student for a

specific time; or permanently expel the student from the University. Ex. A. at 9-10.

      In April 2018, the University announced amendments to the Statement that will

take effect on July 1, 2018. Under those amendments, there will be a separate ban on

“bias-related misconduct,” which is defined as a violation of any of the other offenses

in the Statement that is “motivated by bias or prejudice,” including “behavior motivated

on the basis of any person’s identity as protected by the University of Michigan’s

Nondiscrimination Policy (race, color, national origin, age, marital status, sex, sexual

orientation, gender identity, gender expression, disability, religion, height, weight, or

veteran status).” Ex. K. Under this amendment, an action that violates the Statement

that is “motivated on the basis” of “bias” can be subject to two sanctions—one for the

underlying offense and one for the “bias.” Id.




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II.    The University’s “Bias Response Team” and its Expansive and Ill-
       Defined Ban on “Bias Incidents.”
       The University has further supplemented the bullying/harassment provisions of

the Statement with a “Bias Response Team” (BRT). The BRT is comprised of

University administrators and law enforcement, and may also include students and

“community representatives who serve the U-M community.” Ex. F. The BRT is tasked

with overseeing “the response and management of bias incidents.” Id.

       Like the Statement’s bans on “harassment” and “bullying,” the University has

adopted a vague, open-ended, and subjective definition of “bias” that can encompass a

wide array of conduct, including speech and expression protected by the First

Amendment. The University defines “bias” as “a pre-formed negative opinion or attitude

toward a group of persons who possess common physical characteristics, such as skin

color; or cultural experiences, such as religion or national origin.” Ex. E (emphasis

added). Such “bias,” according to the University, “often stems from fear,

misunderstanding, hatred, and stereotypes, and may be intentional or unintentional.” Ex. F

(emphasis added). These definitions of “bias” encompass countless instances of

protected speech and expression on all manner of topics. Under the plain text of these

definitions, a student may be deemed to have acted with “bias” if, for example, she

gives a speech sharply criticizing the Catholic Church and its adherents for not allowing

women to become priests; this student has expressed a “negative opinion” or “attitude”

about a certain group of people based on their “cultural experience” of religion.



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       The University further defines “bias incident” as “non-criminal activity

committed against a person or property that is motivated, in whole or in part, by the

offender’s bias against a race, color, ethnicity, national origin, sex, gender identity or

expression, sexual orientation, disability, age or religion.” Ex. E. The BRT’s website

similarly defines “bias incident” as “conduct that discriminates, stereotypes, excludes,

harasses, or harms anyone in our community based on their identity (such as race, color,

ethnicity, national origin, sex, gender identity or expression, sexual orientation,

disability, age, or religion.” Ex. F. The University has emphasized that “[b]ias comes in

many forms,” and “can be a hurtful action based on who someone is as a person.” Id.

at 3. That standard is completely subjective: according to the University, “[t]he most

important indication of bias is your own feelings.” Id. (emphasis added).

       Returning to the example discussed above, the student who holds a negative

opinion of the Catholic Church and its adherents could be deemed to engage in a “bias

incident” if she gives a speech in the Diag or passes out fliers articulating her opinion

that the Church and its adherents are wrong to prohibit women from becoming priests.

The speech or fliers would be an “activity” based on this student’s “negative opinion”

of the Catholic Church that could be seen as “hurtful” to the “feelings” of students

who share the “cultural experience” of belonging to the Catholic faith.

       The University has adopted an elaborate system through which “bias incidents”

are reported, investigated, and potentially punished by the BRT. Students can file

reports of “bias, intolerance, or discrimination” with the BRT anonymously or on the

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record. After receiving a report of “bias,” the BRT opens an investigation. The BRT is

comprised of representatives from various units within the University, many of whom

wield significant power over students. For example, the BRT includes representatives

from the Dean of Students Office, the OSCR (which is responsible for handling

disciplinary issues), the University Housing Office, and the Division of Public Safety

and Security (which conducts police and security operations on campus). See Ex. F at

1-2. The University widely promotes the BRT system and strongly encourages students

to report other students’ “expression of bias.”

       When it receives a report of “bias,” the BRT conducts an investigation into the

incident. The University has stated unequivocally that students who engage in so-called

“bias incidents” may be found to have “violate[d] University policies or community

standards.” Ex. H. And the University has further emphasized that “bias incidents” will

be addressed through “a range of remedies that may include disciplinary action as well as

community education and dialogue.” Id. (emphasis added). Bias incidents may also

“result in individual education,” Ex. I, or “restorative justice,” Ex. L at 7.

       The BRT publishes online a “Bias Incident Report Log” in which it documents

(at a high level of generality) its investigations and responses to incidents of “bias.” This

log identifies: (1) the date of the bias incident; (2) the “method of expression of bias”;

(3) the nature of the bias expressed; (4) the location of the bias incident; (5) and the

BRT’s response. In little more than a year, the BRT has investigated and responded to

more than 150 reports of “written,” “verbal,” “electronic,” and “other” “expressions

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of bias.” Ex. J. Those “expressions of bias” have occurred through numerous modes

of expression, both on and off campus, including posters, social media, whiteboards,

email, online posts, pictures on dorm-room doors, fliers, verbal comments, “statements

and drawings,” group chat or text, Twitter, articles published online, Facebook posts,

and “classroom behavior.” Id. The alleged “expressions of bias” have concerned a wide

array of subjects, including race, religion, sexual orientation, color, national origin, sex,

disability,   socio-economic     status,    organizational     affiliation,   political   status,

“race/politics,” “cultural appropriation,” “gender expression,” and “other” topics. Id.

       In connection with those investigations, the BRT has acted aggressively to censor

what it considers “expression of bias.” For example, the BRT has taken down signs,

removed flyers, confronted faculty members, erased whiteboards, and interrogated

students accused of bias (whom the University calls “offenders”). Id.

       The BRT has imposed various forms of punishment on students whose speech

purportedly expressed bias, including requiring students to attend “individual

education” or participate in “restorative justice.” See Ex. I; Ex. L at 7. For example,

Defendant Schlissel has made clear that certain actions “causing emotional harm to

impacted communities” will be treated as a violation of the Statement and will be

handled in conjunction with the OSCR. See Ex. L. at 7. Schlissel has stated that students

whose speech exhibits bias will face discipline ranging from “restorative justice” to

official punishment, such as suspensions, under the Statement. Id. at 7-8. According to

Schlissel, “[m]y job is to make sure that we have structures established and the right set

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of rules to make sure when bad events do happen, we can investigate them, attempt to

figure out who’s responsible and then, once we’ve done that, find the appropriate

punishment, be it restorative justice or, on the other extreme, sanctions against the

people who are responsible.” Id. at 8. Schlissel described “restorative justice” as a

process in which the students in question “learn from” the incident and are

“remediated.” Id.

III.    Speech First and This Litigation.
        Plaintiff Speech First Inc. (“Speech First”) is a nationwide membership

organization of students, alumni, and others that is dedicated to preserving civil rights

secured by law, including the freedom of speech guaranteed by the First Amendment.

In particular, Speech First seeks to protect the rights of students and others at colleges

and universities, through litigation and other lawful means.

        Speech First has several members who are current students at the University, in

a variety of different class years. See Neily Decl. ¶¶ 3-5. Speech First’s members want to

engage in open, vigorous, and provocative debate and discussion about a wide array of

often-controversial topics—including but not limited to politics, immigration, race, sex,

gender identity, religion, abortion, gun rights, and cultural issues—and they want to be

able to use humor, satire, and parody in their discussions both inside and outside of the

classroom. Id. Yet Speech First’s members are being chilled from openly articulating

their views due to a credible fear that they will be accused of “harassment” or “bullying”

under the Statement, or will be investigated and/or punished by the BRT for engaging


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in “bias incidents.” Id. Speech First has brought this suit to ensure that its members and

other students at the University will not face investigations or discipline for engaging in

the open and vigorous exchange of ideas that is at the core of the First Amendment

merely because a University official or another student finds their views “demeaning,”

“bothersome,” or “hurtful.” Id.

                                      ARGUMENT
       A plaintiff seeking a preliminary injunction must show that “he is likely to

succeed on the merits, that he is likely to suffer irreparable harm in the absence of

preliminary relief, that the balance of equities tips in his favor, and that an injunction is

in the public interest.” Winter v. Nat. Resources Def. Council, 555 U.S. 7, 20 (2008).

I.     Speech First Is Likely To Prevail On The Merits Of Its Claims.
       A.     The First Amendment Prohibits Vague and Overbroad Regulations
              Capturing Substantial Amounts of Protected Speech.
       “If there is a bedrock principle underlying the First Amendment, it is that the

government may not prohibit the expression of an idea simply because society finds the

idea offensive or disagreeable.” Texas v. Johnson, 491 U.S. 397, 414 (1989). The Supreme

Court has held time and again, both within and outside the school context, that the

government may not prohibit speech based on the “mere desire to avoid the discomfort

and unpleasantness that always accompany an unpopular viewpoint.” Tinker v. Des

Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 509 (1969); see also Street v. New York, 394

U.S. 576, 592 (1969) (“[T]he public expression of ideas may not be prohibited merely



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because the ideas are themselves offensive to some of their hearers.”); R.A.V. v. City of

St. Paul, Minn., 505 U.S. 377, 414 (1992) (“The mere fact that expressive activity causes

hurt feelings, offense, or resentment does not render the expression unprotected.”).

Moreover, humor, satire, and parody play an important role in a democratic society,

and “it is clear that our political discourse would have been considerably poorer without

them.” Hustler Magazine, Inc. v. Falwell, 485 U.S. 46, 55-56 (1988).

       Relatedly, “regulations that prohibit speech on the basis of listener reaction alone

are unconstitutional both in public high school and university settings.” Bair v.

Shippensburg Univ., 280 F. Supp. 2d 357, 369 (M.D. Pa. 2003). The government may not

prohibit speech “based solely on the emotive impact that its offensive content may have

on a listener.” Saxe v. State College Area School Dist., 240 F.3d 200, 209 (3d Cir. 2001)

(Alito, J.); see also United States v. Playboy Entertainment Group, 529 U.S. 803, 812 (2000)

(regulation based on “the effect of the subject matter on [listeners]” is “the essence of

a content-based regulation”). Indeed, “[c]ommunications which provoke a response,

especially in the university setting, have historically been deemed an objective to be

sought after rather than a detriment to be avoided.” Bair, 280 F. Supp. 2d at 370-71. In

short, when a restriction on speech is intended to “shield the sensibilities of listeners,

the general rule is that the right of expression prevails, even where no less restrictive

alternative exists. We are expected to protect our own sensibilities ‘simply by averting

[our] eyes.’” Playboy Enterprises, 529 U.S. at 813.




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       Under the “overbreadth” doctrine, a statute or regulation violates the First

Amendment—even if it has some constitutional applications—if it “so broad as to

‘chill’ the exercise of free speech and expression.” Dambrot v. Central Mich. Univ., 55 F.3d

1177, 1182 (6th Cir. 1995). In applying that standard, the court first considers whether

the challenged policy “reaches a substantial amount of constitutionally protected

speech.” Id.; see also Speet v. Schuette, 726 F.3d 867, 872 (6th Cir. 2013). The court then

determines whether the policy “provides fair notice of the standard of conduct to which

a citizen is held accountable,” or instead “leaves the definition of its terms to law

enforcement officers, and thereby invites arbitrary, discriminatory, and overzealous

enforcement.” Leonardson v. City of East Lansing, 896 F.2d 190, 195-96 (6th Cir. 1990).

       B.     The Statement’s Bans on “Harassment,” “Bullying,” and “Bias-
              Related Misconduct” Are Unconstitutionally Overbroad and Void
              for Vagueness.
       The University’s Statement of Student Rights and Responsibilities—violation of

which can subject students to investigations and penalties up to and including

expulsion—prohibits “[h]arassing or bullying another person—physically, verbally, or

through other means.” Ex. A. at 3. On its face, there is no question this prohibition can

sweep in enormous amounts of protected speech and expression. Pro-choice students

may feel “harassed” by a demonstration by pro-life students that features photos of

aborted fetuses. Students who support the rights of undocumented immigrants may

feel “harassed” by expressions such as “Build the Wall!” and “Make America Great

Again!” Students hosting an event that is protested by other students will likely feel


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“harassed” by the protestors. Students who are devout Catholics may feel “harassed”

by students who distribute condoms in the dorms. And the definition of “bullying”

fares no better, as that amorphous term can encompass anything that “frighten[s],

“hurt[s],” or “threaten[s]” another student. Ex. B. at 6. Students who care deeply about

abortion rights or same-sex marriage may feel “frightened” or “threatened” by speech

urging the Supreme Court to overturn Roe v. Wade or Obergefell v. Hodges. The Statement’s

prohibitions on “harassment” and “bullying” plainly “reach[] a substantial amount of

constitutionally protected speech.” Dambrot, 55 F.3d at 1182.

       The University’s “Expect Respect” initiative—which claims to promote a “safe

and inclusive” “[c]ampus social climate,” see Ex. C—has further clarified the meaning

of “harassment,” but this expanded definition only underscores its constitutional

infirmities. Under the Expect Respect definition, “harassment” entails “unwanted

negative attention perceived as intimidating, demeaning, or bothersome to an

individual.” Ex. B. at 6; Ex. E. The Statement also links to a definition from Merriam-

Webster’s Dictionary that defines “harassing” as: “(1) to annoy persistently; (2) to create

an unpleasant or hostile situation, especially by uninvited or unwelcome verbal or

physical conduct.” Ex. B. at 6. In other words, a student may violate the prohibition on

so-called “harassment” if he or she engages in “verbal[]” conduct (i.e., speech) that

another student perceives as being “demeaning,” “bothersome,” “annoying,” or

“unpleasant.”




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       These definitions of “harassment” hit the unconstitutional trifecta of being

highly expansive, highly subjective, and hopelessly vague. Virtually any opinion or

political belief—as well as any use of humor, satire, or parody—will be perceived by

somebody as “demeaning,” “bothersome,” or “annoying.” To paraphrase the Sixth

Circuit, “[i]n order to determine what conduct will be considered [“harassment”] by the

university, one must make a subjective reference” based on the listener’s own

perception of the speech. Dambrot, 55 F.3d at 1184. And, “[a]bsent any requirement

akin to a showing of severity or pervasiveness—that is, a requirement that the conduct

objectively and subjectively creates a hostile environment or substantially interferes with an

individual’s work—the policy provides no shelter for core protected speech.” DeJohn v.

Temple Univ., 537 F.3d 301, 317-18 (3d Cir. 2008) (emphasis added); see also Doe, 721 F.

Supp. at 867 (noting subjective nature of words such as “victimize” and “stigmatize”).

       In sum, the University’s conception of “harassment” not only “reaches a

substantial amount of constitutionally protected speech,” Dambrot, 55 F.3d at 1182, but

also utterly fails to provide “fair notice of the standard of conduct” to which students

will be held, Leonardson, 896 F.2d at 195-96. As then-Judge Alito emphasized in Saxe,

“[l]oosely worded anti-harassment laws may pose some of the same problems as the St.

Paul hate speech ordinance [in R.A.V.]: they may regulate deeply offensive and

potentially disruptive categories of speech based, at least in part, on subject matter and

viewpoint.” 240 F.3d at 208.




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      On top of its already-vague prohibitions on “bullying” and “harassment,” the

University recently announced amendments to the Statement that will add a separate,

additional prohibition on “bias-related misconduct.” That term is defined as a violation

of any of the other enumerated offenses in the Statement (including “bullying” or

“harassment”) that is “motivated by bias or prejudice,” including “behavior motivated

on the basis of any person’s identity as protected by the University of Michigan’s

Nondiscrimination Policy….” Ex. K. Under this amendment, an action that violates

the Statement and is “motivated on the basis” of alleged “bias” can be subject to two

sanctions—one for the underlying offense and one for the “bias.” Id. As explained in

greater detail below, the University’s definitions of “bias” are every bit as amorphous

and subjective as its prohibitions on “harassment” and “bullying.” The new prohibition

on “bias-related misconduct” merely adds an unconstitutional enhancement to the

unconstitutional proscriptions on “harassment” and “bullying.”

      The Statement’s prohibitions on “harassment,” “bullying,” and “bias-related

misconduct” are strikingly similar to other university speech codes that courts have

found to be unconstitutional. In Bair, for example, the university prohibited speech that

would “provoke, harass, intimidate, or harm another,” 280 F. Supp. 2d at 363, which

closely tracks Michigan’s prohibition on speech that is “intimidating, demeaning, or

bothersome to an individual.” Bair also involved a prohibition on “acts of intolerance”

that were “maliciously motivated,” which closely resembles Michigan’s prohibition on

“bias-related misconduct,” i.e., “behavior motivated on the basis of any person’s

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identity.” The court in Bair held that each of the challenged provisions, by its plain

terms, could extend to protected speech. See id. at 370-71. The prohibition on speech

that “provoke[s], harass[es], or intimidate[s]” was especially problematic because it

impermissibly turned on the listeners’ reaction to the speech. Id. But “[c]ommunications

which provoke a response, especially in the university setting have historically been

deemed an objective to be sought after rather than a detriment to be avoided.” Id. at

372; see also Sypniewski v. Warren Hills Regional Bd. Of Educ., 307 F.3d 243, 264 (3d Cir.

2002) (citing Saxe, 240 F.3d at 209) (“confining prohibited speech to that which

constitutes ‘harassment’ is not alone sufficient to ensure constitutionality … [Indeed],

‘harassment,’ when targeted on the basis of its expressive content, encompasses speech

within the area protected by the First Amendment”).

      The Statement’s prohibitions on “bullying” and “harassment” also contain none

of the First Amendment safeguards that courts have cited in upholding other types of

university disciplinary policies. For example, in Marshall v. Ohio University, the court

rejected an overbreadth challenge to a university’s anti-harassment policy because the

policy required a showing that the individual’s actions were “objectively and subjectively

severe or pervasive.” 2015 WL 1179955 (S.D. Ohio 2015). Michigan’s policy, by

contrast, turns on the subjective perception of the offended student and contains no

requirement that the conduct be severe or pervasive. The absence of such safeguards is

often fatal to a university’s attempts to prohibit “harassment” or a “hostile

environment.” See DeJohn, 537 F.3d at 320 (“[U]nless harassment is qualified with a

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standard akin to a severe or pervasive requirement, a harassment policy may suppress

core protected speech.”); Saxe, 240 F.3d at 217 (noting absence of “any threshold

showing of severity or pervasiveness”).

      The effect of the University’s amorphous bans on “bullying,” “harassment,” and

“bias-motivated misconduct” is to profoundly chill free speech and open discourse.

The University has “never articulated any principled way to distinguish sanctioned from

protected speech,” and “[s]tudents of common understanding [are] necessarily forced

to guess at whether a comment about a controversial issue would later be found to be

sanctionable.” Doe, at 721 F. Supp. at 867. A student who voices a controversial or

unpopular opinion—or who seeks to use humor or satire when discussing sensitive

topics—risks punishment up to and including expulsion if even one other student

perceives that speech as “demeaning,” “bothersome,” “annoying,” or “unpleasant.” Put

differently, students must be certain before speaking that their words will not be

perceived as offensive by even the most sensitive student on campus. Many students

will inevitably choose not to speak about controversial or sensitive topics rather than

risk investigation and punishment if another student takes offense at their words and

files a complaint alleging “bullying,” “harassment,” or “bias-motivated misconduct.”

      C.     The Bias Response Team’s Ban on “Bias Incidents” Is
             Unconstitutionally Overbroad and Void for Vagueness.
      For similar reasons, the Bias Response Team’s prohibition on “bias incidents” is

grossly overbroad and poses a grave risk of chilling protected speech and expression.



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The University defines “bias” as “a pre-formed negative opinion or attitude toward a

group of persons who possess common physical characteristics, such as skin color; or

cultural experiences, such as religion or national origin.” Ex. E. Such “bias,” according

to the University, “often stems from fear, misunderstanding, hatred, and stereotypes,

and may be intentional or unintentional.” Ex. F. The University defines “bias incident”

as “non-criminal activity committed against a person or property that is motivated, in

whole or in part, by the offender’s bias against a race, color, ethnicity, national origin,

sex, gender identity or expression, sexual orientation, disability, age or religion.” Ex. E.

The BRT’s website similarly defines “bias incident” as “conduct that discriminates,

stereotypes, excludes, harasses, or harms anyone in our community based on their

identity (such as race, color, ethnicity, national origin, sex, gender identity or expression,

sexual orientation, disability, age, or religion.” Ex. F. at 1. The University has

emphasized that “[b]ias comes in many forms,” and “can be a hurtful action based on

who someone is as a person.” Id. at 3. According to the University, “[t]he most important

indication of bias is your own feelings.” Id. (emphasis added).

       Needless to say, a prohibition that turns on the listener’s “own feelings”—and

that covers even unintentional “negative opinion[s] or attitude[s]”—is unconstitutionally

vague and overbroad. Like the University’s prohibitions on “harassment” and

“bullying,” “bias incidents” are in the eye of the beholder, and can unquestionably

encompass protected speech that merely causes another student to take offense. Speech

critical of certain tenets of the Catholic faith could be deemed “hurtful” to Catholics.

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Speech questioning whether a biological man can transition to become a woman could

be deemed “hurtful” or “exclusionary” to transgender students. Speech criticizing the

tactics of the #Blacklivesmatter movement could be deemed “hurtful” to African-

American students. Speech encouraging a tough policy towards illegal immigration

could be deemed “hurtful” to Latino students. Protected speech involving humor,

satire, or parody is also particularly likely to cause offense to some group of students

and thus be reported, investigated, and potentially punished as a “bias incident.”

       The University’s definition of a “bias incident” suffers from the same flaws as

the policy the Third Circuit invalidated in Saxe. Just as the University defines “bias” as

a “negative opinion or attitude” about any group with shared “cultural experiences,”

Ex. E, the policy in Saxe similarly sought to prohibit “harassment” based on a person’s

“values” or “personal characteristics.” 240 F.3d at 202-03. To paraphrase then-Judge

Alito, “[b]y prohibiting disparaging speech directed at a person’s [“cultural

experiences”], the Policy strikes at the heart of moral and political discourse—the

lifeblood of constitutional self-government (and democratic education) and the core

concern of the First Amendment. That speech about [“cultural experiences”] may

offend is not cause for its prohibition, but rather the reason for its protection: ‘a

principal function of free speech under our system of government is to invite dispute.

It may indeed best serve its high purpose when it induces a condition of unrest, creates

dissatisfaction with conditions as they are, or even stirs people to anger.’” Id. at 210.




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       Students voicing disfavored or controversial viewpoints credibly fear that their

actions will be reported to the BRT. The University has designed an elaborate system

in which students who believe they have been subject to “bias incidents” may file

complaints with the BRT (including anonymous complaints). The University widely

advertises this reporting system and encourages students to file reports. The offending

student is then investigated by representatives of the University’s disciplinary apparatus,

including the OSCR and the Division of Public Safety. The BRT has been summoned

to investigate “bias incidents” more than 150 times since April 2017. Ex. J. Students

found to have engaged in “bias incidents” can then face disciplinary action before the

OSCR as well as sanctions including “restorative justice” and “individual education.”

See, e.g., Ex. I; Ex. L at 7-8.

       The BRT’s vague and overbroad definitions of “bias” and “bias incident” have

a profound chilling effect on speech and expression at the University. Indeed, the mere

existence of the BRT mechanism chills protected expression even apart from any

punishments that may result at the end of the process. See, e.g., Doe, 721 F. Supp. at 865

(regardless of whether students were formally punished for protected speech, the

University “forc[ed] the student to a hearing to answer for allegedly harassing

statements made in the course of academic discussion and research”). The University

has created and promoted a system in which students can file anonymous reports of

“bias incidents” under an amorphous definition based on anything that harms their

“feelings,” which will then lead a team of university officials to spring into action to

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investigate. The prospect of facing such an investigation will inevitably lead many

students to refrain from speaking altogether, to steer clear of controversial or sensitive

topics, or to speak about controversial matters only with students who already share

their views. This chilling of protected speech and expression will exist regardless of

whether a student is ultimately exonerated at the end of the BRT process.

       A recent study found that bias response teams lead to “a surveillance state on

campus where students and faculty must guard their every utterance for fear of being

reported to and investigated by the administration.” FIRE, Bias Response Team Report

2017 at 28 (Feb. 2017), available at https://tinyurl.com/ycq8f8xu. The “posture taken

by many Bias Response Teams is all too likely to create profound risks to freedom of

expression, freedom of association, and academic freedom on campus.” Id. at 5; see also

Snyder & Khalid, The Rise of “Bias Response Teams” on Campus, The New Republic (Mar.

30, 2016), available at https://tinyurl.com/jmnxhyb (bias response teams “result in a

troubling silence: Students, staff, and faculty [are] afraid to speak their minds, and

individuals or groups [are] able to leverage bias reporting policies to shut down

unpopular or minority viewpoints”).

II.    Speech First Meets The Remaining Preliminary-Injunction Criteria.
       If this Court concludes, as it should, that Speech First is likely to prevail on its

constitutional challenge to the Statement and the BRT, then the remaining elements of

the preliminary injunction analysis—irreparable harm, balancing of the equities, and the

public interest—all cut strongly in favor of granting preliminary relief. See, e.g., Bair, 280


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F. Supp. 2d at 373 (finding remaining preliminary injunction factors satisfied after

concluding that university’s speech code was likely unconstitutional); Monaghan v.

Sebelius, 916 F. Supp. 2d 802, 811-12 (E.D. Mich. 2012) (finding remaining factors

satisfied after finding likelihood of success on First Amendment claim).

       A.     Speech First and its members will suffer irreparable harm in the absence

of preliminary injunctive relief. “The loss of First Amendment freedoms, for even

minimal periods of time, unquestionably constitutes irreparable injury.” Elrod v. Burns,

427 U.S. 347, 373 (1976); see also Jones v. Caruso, 569 F.3d 258, 277 (6th Cir. 2009) (same);

G & V Lounge, Inc. v. Mich. Liquor Control Comm’n, 23 F.3d 1071, 1079 (6th Cir. 1994)

(“[V]iolations of [F]irst [A]mendment rights constitute per se irreparable injury.”).

       B.     The balance of equities also tips overwhelmingly in favor of granting a

preliminary injunction. Plaintiff and its members obviously have a powerful interest in

ensuring the protection of open and vigorous discourse at the University without the

threat of investigation or punishment.

       On the other side of the ledger, the University has no legitimate interest in

banning or chilling speech protected by the First Amendment, even if such speech is

“particularly hurtful to many.” Snyder v. Phelps, 562 U.S. 443, 456 (2011). Even if the

current prohibitions are enjoined as vague and/or overbroad, the University remains

“free to enact new regulations that are tailored so as to conform to First Amendment

jurisprudence.” Bair, 280 F. Supp. 2d at 373. For example, the University could adopt a

narrower definition of “harassment,” or could adopt a definition of “bullying” that

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tracks the “true threats” doctrine. See, e.g., Virginia v. Black, 538 U.S. 343, 360 (2003).

Even if this Court grants preliminary injunctive relief, the University will have adequate

time before the next school year to adopt new rules of conduct that advance the

University’s interests without trampling protected speech and expression.

       C.     Finally, the impact of a preliminary injunction on the public interest also

turns in large part on whether the plaintiff’s First Amendment rights are likely to be

violated. “The public as a whole has a significant interest in ensuring equal protection

of the laws and protection of First Amendment liberties.” Dayton Area Visually Impaired

Persons, Inc. v. Fisher, 70 F.3d 1474, 1490 (6th Cir. 1995); see also G & V Lounge, 23 F.3d

at 1079. There is no question that the public has a strong interest in ensuring the

protection of speech and expression at state-funded universities.

                                    CONCLUSION
       This Court should grant Speech First’s motion and enjoin Defendants from: (1)

taking any actions to investigate, threaten, or punish students for violations of the

prohibitions on “harassment,” “bullying,” and “bias-related misconduct” set forth in

the Statement; and (2) using the Bias Response Team to investigate, threaten, or punish

students (including informal punishments such as “restorative justice” or “individual

education”) for “bias incidents.” Speech First respectfully asks that the Court expedite

resolution of this motion to the extent necessary to ensure that a decision by this Court

and by the Sixth Circuit, should either party decide to appeal this Court’s ruling, is

reached before the new school year begins on September 4, 2018.


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                                      Respectfully submitted,

                                      By:/s/ John A. Di Giacomo

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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 11, 2018, I electronically filed the foregoing with the

Clerk of the Court using the ECF system. Pursuant to agreement with Defendants’

counsel, an electronic copy of the foregoing was emailed to Defendants’ counsel on

May 11, 2018.




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